                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:12-00206
                                                 )           JUDGE CAMPBELL
SUSAN STANSKY                                    )


                                             ORDER

       Pending before the Court is the Defendant’s Motion For Payment Of Transportation

Costs By The United States Marshals Service (Docket No. 178). Through the Motion, the

Defendant requests an order directing the Marshals Service to pay the costs of transportation and

ancillary subsistence costs associated with the travel of the Defendant from her residence in

Edgar, Montana to Nashville, Tennessee for her trial that is currently set for March 11, 2014.

       The Motion is GRANTED as the Court finds, pursuant to 18 U.S.C. § 4285, that the

Defendant is financially unable to provide the necessary transportation to appear for trial on her

own. Accordingly, the necessary costs of transportation and ancillary subsistence costs

associated with the travel of the Defendant from her residence in Edgar, Montana to Nashville,

Tennessee for her trial that is currently set for March 11, 2014 shall be paid by the Marshals

Service to the extent authorized by law.

       It is so ORDERED.

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                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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